                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN

MARTIN BROWN,
         Plaintiff,
                                                   CASE NO.: 2:17-cv-01766-PP
       -against-

BLUESTEM BRANDS, INC., D/B/A
FINGERHUT,,
         Defendant.


                     NOTICE OF VOLUNTARY DISMISSAL


TO THE CLERK:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

dismisses the Complaint with prejudice.




Dated: March 26, 2018                      By: /s/ Joseph C. Hoeffel
                                           Joseph C. Hoeffel, Esq.
                                           Kimmel & Silverman, P.C.
                                           30 East Butler Pike
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                                           Phone: 215-540-8888
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                                           Attorney for Plaintiff




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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of March, 2018, a true and correct copy of

the foregoing pleading served via mail to the below:


       Fingerhut / Bluestem Brands
       7075 Flying Cloud Drive
       Eden Prairie MN 55344

                                     By: /s/ Joseph C. Hoeffel
                                     Joseph C. Hoeffel, Esq.
                                     Kimmel & Silverman, P.C.
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